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 Fill in this information to identify your case:

 Debtor 1                   Brian Joseph Domingue
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF LOUISIANA

 Case number
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Ally                                     Describe the property that secures the claim:                 $15,784.04               $11,123.00            $4,661.04
         Creditor's Name                          2011 GMC Sierra 165000 miles
                                                  Vehicle:
                                                  As of the date you file, the claim is: Check all that
         PO Box 380902                            apply.
         Bloomington, IL 55438                        Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)
       community debt

 Date debt was incurred          08/1/2016                 Last 4 digits of account number        1488

 2.2     Mr Cooper                                Describe the property that secures the claim:               $211,319.03               $275,000.00                     $0.00
         Creditor's Name                          Slidell, La. 173 Pebble Beach Dr
                                                  Slidell, LA 70458
                                                  Residence: 1 story 2800 SqFt home
                                                  As of the date you file, the claim is: Check all that
         PO Box 9095                              apply.
         Temecula,, CA 92589                          Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)
       community debt

 Date debt was incurred          09/1/2008                 Last 4 digits of account number        3173


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 Debtor 1 Brian Joseph Domingue                                                                               Case number (if known)
               First Name                  Middle Name                      Last Name



 2.3     Resource Bank                              Describe the property that secures the claim:                   $341,160.52           $495,000.00             $0.00
         Creditor's Name                            131 Rue Esplanade Slidell, LA 70461
                                                    Residence: 1 Story House
                                                    As of the date you file, the claim is: Check all that
         2283 Gause Blvd E                          apply.
         Slidell, LA 70461                               Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          05/1/2015                   Last 4 digits of account number         8157

 2.4     RushMore                                   Describe the property that secures the claim:                    $44,960.80           $275,000.00             $0.00
         Creditor's Name                            Slidell, La. 173 Pebble Beach Dr
                                                    Slidell, LA 70458
                                                    Residence: 1 story 2800 SqFt home
                                                    As of the date you file, the claim is: Check all that
         PO Box 52708                               apply.
         Irvine, CA 92619                                Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          07/1/2009                   Last 4 digits of account number         7011


   Add the dollar value of your entries in Column A on this page. Write that number here:                                   $613,224.39
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                  $613,224.39

 Part 2:     List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
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